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NVB 3022 (Rev. 2/16)


                        UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEVADA


 IN RE:                                                  BK−20−10752−abl
                                                         CHAPTER 7
 JIMENEZ ARMS, INC.


                                   Debtor(s)             FINAL DECREE




The estate of the debtor(s) having been fully administered,

IT IS ORDERED that LENARD E. SCHWARTZER is discharged as trustee of the estate.

This Chapter 7 case is closed.




Dated: 1/27/22


                                                     Mary A. Schott
                                                     Clerk of Court
